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                 Exhibit 2
                  Civil Action No. 25-cv-0952 (CKK)
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

                    Plaintiffs,
                                                 Civil Action No. 25-0946 (CKK)
      v.

EXECUTIVE       OFFICE            OF    THE
PRESIDENT, et al.,

                     Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                    Plaintiffs,
                                                 Civil Action No. 25-cv-0952 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                    Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                    Plaintiffs,
                                                Civil Action No. 25-0955 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                    Defendants.


       DECLARATION OF CHARLES E. SCHUMER IN SUPPORT OF
 DEMOCRATIC PARTY PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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        I, Charles E. Schumer, declare as follows:

        1.      I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

        1.      I am the senior U.S. Senator from New York, the Senate Minority Leader and the

Leader of the Senate Democratic Caucus.

        2.      I have been elected to the U.S. Senate five times and was elected to the U.S. House

of Representatives nine times prior to that. I am also a current candidate for U.S. Senate. I am a

citizen of the United States, a resident of the State of New York, and an individual voter in federal,

state, and local elections.

        3.      As the Leader of the Senate Democratic Caucus, I am responsible for helping to

elect Democratic Party candidates in U.S. Senate elections across the country. This responsibility

is critical to the success of the Caucus and to the mission of the Democratic Party as whole, given

that the Caucus’s ability to influence the legislative agenda in the U.S. Senate depends on the size

of its membership. I play a direct role in helping to increase the size of the Caucus. In my role as

Leader, I provide direct support to Democratic Senate campaigns, often in highly competitive

battleground states, by helping to fundraise, weighing in on strategy and messaging, speaking at

campaign events, and engaging in other important campaign work. I work closely with DSCC

throughout the entire election cycle to recruit new candidates, craft messaging, prioritize party

investments and develop strategies to elect Democratic Senate candidates.

        4.      On March 25, 2025, the President issued Executive Order 14248, Preserving and

Protecting the Integrity of American Elections, which mandates various federal officers and the

Election Assistance Commission to adopt several of the President’s preferred election policies.

The Order, which usurps authority that the U.S. Constitution reserves for members of Congress,




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or for the states, severely and immediately harms Democratic Senate candidates and the Senate

Caucus, and it impedes my ability to carry out my duties as Leader.

       5.      In particular, President Trump’s imposition of a national election day ballot receipt

deadline will directly disenfranchise the Democratic Party’s members and constituents—including

members of the military, their families, and countless others who rely on voting by mail—by

requiring states to reject ballots not received by election day, even where state law (including New

York’s) provides a longer period for receipt.

       6.      Particularly since the pandemic, Democrats have expended significant resources to

encourage legal voters to vote by mail, because that method is often the most convenient or

accessible way for voters to participate. The Democratic Party has invested significant resources

to educate voters on how to vote by mail and make sure their ballots get counted. Those efforts

advise voters to follow state law, and many state laws allow for the counting of ballots received

after election day, so long as they are placed in a dropbox or in the mail by election day. The

imposition of a nationwide election-day receipt deadline would drastically change the way many

Democratic voters vote. No matter how many resources Democrats pour into education efforts to

reeducate voters on this change, some voters are likely to be going to be confused, cast their ballots

in accordance with state law deadlines, and will be disenfranchised as a result. The Executive

Order severely threatens Democratic voters’ fundamental right to vote.

       7.      It will be very difficult to ensure that all voters are aware of a new election day

receipt rule, especially in states that have longstanding universal vote by mail programs like

Washington, Oregon, California, and Colorado. Many other states, including my home state of

New York, have expanded access to mail voting in recent years. In these states, huge portions of

the electorate vote by mail. It will take an enormous and resource-intensive effort on the part of




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the Party to educate voters about the need to ensure that their ballots have been received by election

officials by election day. The election day receipt deadline will also mean that many Democratic

voters will be at an information disadvantage because they will be forced to make their final

choices on which candidates to support well before election day, whereas voters who cast their

ballots in person will have more time to evaluate candidates and their policy positions before

making their final choices. In turn, the Party will have less time to persuade mail voters to support

Democratic candidates for Senate. The Party will also be required to invest more resources in

encouraging voters to use other methods of voting, including to develop a plan to vote in person

at the polls.

        8.      Requiring ballots to be received by election day in order to be counted will result

in the disenfranchisement of voters for reasons that are completely out of the voters’ control. For

instance, even when voters place their ballot in the mail well before election day, timely cast ballots

often arrive after election day because of mail delays. I am aware of significant mail delays at the

Postal Service that routinely cause some ballots to take several days—sometimes even weeks—to

be delivered. In the 2024 election, several of my colleagues in the U.S. Senate sent a letter to the

U.S. Postmaster General expressing concern about the United States Postal Service’s

implementation of its “Delivering for America” plan, which had led to significant delivery issues

nationwide. States like New York have enacted laws to mitigate the effects of these issues by

counting ballots that are cast by the voter so long as the ballot is postmarked on or before election

day. The Executive Order, however, would effectively override New York law and require

disenfranchisement.

        9.      If large numbers of mail ballots that skew Democratic are invalidated, Republicans

will gain an electoral advantage. Under the President’s ballot receipt deadline, this will occur every




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election cycle. Senate races can sometimes be decided on small margins—so every one of these

improperly invalidated ballots matters to Democratic Senate candidates’ electoral prospects and

my mission to grow the size of the Democratic Caucus in the Senate. For example, the 2022 U.S.

Senate race in Nevada was decided by fewer than 8,000 votes—and in that election alone, Clark

County received more than more than 27,000 valid ballots on the day after the election, more than

36,000 two days after the election, and around 2,000 more during the final days of the permissible

period for receiving ballots.

       10.     I also fear that the Order’s election day ballot receipt deadline could call into

question state laws that permit voters to “cure” timely mail ballots with minor technical errors in

the days after election day, undermining our Party’s planned post-election ballot cure programs.

In the 2022 Nevada race, for example, more than 12,000 ballots that could be cured were initially

rejected—more than the margin that decided the race.

       11.     The President’s Order also directs the Election Assistance Commission, an

independent agency, to add a documentary proof of citizenship requirement to the federal voter

registration form required by the National Voter Registration Act (NVRA)—the “Federal Form.”

Under this provision, any voter using the form who lacks acceptable proof of citizenship is barred

from registering and voting. The Order also directs certain federal agencies to conduct citizenship

checks of any prospective voter who receives public assistance before providing them with a

registration form, even though other voters are not treated this way. The Order further seeks to

pressure states into imposing their own proof of citizenship requirements.

       12.     Foreign nationals are already barred from attempting to register or vote in the

United States, and existing law already prevents it. The implementation of these unnecessarily

burdensome provisions will make it extremely difficult for a large number of qualified U.S.




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citizens to vote, and inflict further harms on Democratic Senate candidates, making it harder for

me to perform my duties as Leader.

       13.     That is because millions of U.S. citizens, including among my constituency in New

York, lack documentary proof of citizenship, such as a passport, or the ability to easily obtain it. I

also understand that women have had difficulty proving their citizenship because their married

name may not match their name on their citizenship documents. These voters will not be able to

register to vote or will be dissuaded from voting because of the President’s Order. These groups

of voters make up large portions of the constituencies of the Democratic Party and Democratic

candidates for Senate. As a result, the imposition of overly burdensome proof of citizenship

requirements inflicts significant harm on the Democratic Party and our constituency, and further

restructures the election system to the benefit of the President’s party over ours.

       14.     Finally, the Order gives unauthorized third parties, inside and outside of the federal

government, direct access to federal databases containing the personal information of millions of

Americans—including me and other Democratic Party voters. This unauthorized disclosure of

information beyond the individuals in the federal government who are entrusted by law to handle

it flies in the face of our longstanding commitment to privacy rights in this country.

       15.     These unauthorized disclosures harm DSCC and our candidates’ and party’s voter

registration efforts because it is harder to convince people to register to vote when they are

legitimately concerned and fearful that their private information will be shared with unauthorized

individuals. Our voters have expressed fear and skepticism of DOGE, so much so that some may

be willing to forgo registering and exercising their right to vote if they learn that DOGE will get

access to their personal information. For similar reasons, the DSCC will face additional fundraising

hurdles. If voters do not trust the election system, they are far less likely to donate, harming




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DSCC’s bottom line. This will occur at a time when the Party will be forced to invest an enormous

amount of resources to educate voters on the new requirements imposed by the President’s Order,

including explaining to voters how their personal information will be used and convincing them

to register to vote despite the privacy risks.

        16.     The President’s Order undermines my ability to carry out my responsibilities as

Leader of the Senate Democratic Caucus. One of my top priorities is to protect the voting rights

of voters and constituents. DSCC and Democratic campaigns (including my own) will have to

make monumental investments and changes to their programs all over the country to ensure that

our voters are able to cast their ballots and have them counted. Additionally, our donors know that

mail voting is important to the success of Democratic candidates, and I fear that this Order will

erode their faith in our candidates electoral prospects and deprive DSCC and our campaigns of

critical funding going into a major mid-term election cycle.

        17.     The unfairness, uncertainty, and confusion around the election rules imposed by the

Order also make it harder for me to effectively recruit strong candidates to run for office.

Candidates want to know that the rules of the road are clear, and they want to know that they have

a fair shot of winning if they invest their own time and money in a race. It is difficult to convince

potential candidates to run for office as Democrats when the President has unfairly changed the

election rules in a way that tilts the playing field heavily in favor of Republicans.

        18.     By restructuring election rules in a manner that benefits our competitors and

significantly disadvantages Democrats, the Order harms the electoral prospects of Democratic

Senate candidates.

        19.     The Order comes at a particular cost for me in my role as the Leader of the Senate

Democratic Caucus. It will mean that I will have to spend more of my time and efforts attempting




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to raise additional funds for the DSCC, identifying and recruiting candidates to join in our effort

to grow the size of the Caucus, and contemplating additional campaign strategies to support Senate

candidates. This will come at the expense of time spent dealing with other critical issues facing

our country.

       I declare under penalty of perjury that the foregoing is true and correct.


                                                               
                                             Executed on: _______________________________



                                                ________________________________________

                                                                            Charles E. Schumer
                                                                    U.S. Senate Minority Leader




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